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irrri’jl`ED STATES BANKRUPTCY C()`d-Kzl`
WESTERN DISTRICT OF l\'.[ICHIGAN, SOUTHERN DIVISION

 

In Re: Case No.: l g rOUZq 2/

Kandy McKeown Chapter 7
Honorable Scott W. Dales
Debtor

 

AFFIDAVIT OF SPECIAL CIRCUMSTANCES

NOW COMES Debtor, by oounsel, Debt Relief Legal Clinic, PLLC, and for Special
Circurnstances relating to the Means Test, states as follows:

1. l am an adjunct professor at multiple institutions of higher education, and my
employment depends entirely on course availability

2. I received income from Davenport University in January 2018, which derives
from December 2017 courses.

3. l will have no income from Davenport University from February through August
2018. I am not teaching courses at Davenport this semester, due to insufficient enrollment, and
the summer semester normally has no courses, either.

4. Despite the Means Test reflecting a “presumption of abuse”, it is based upon my
prior earnings from part-time employment with Davenport University, which I will not receive
during the coming eight months, and my remaining income is not sufficient to make payments
under a Chapter 13 Plan. Therefore, I do not believe I am abusing the bankruptcy system by
requesting relief under Chapter 7 of the Bankruptcy Code.

5. I declare under penalty of perjury that l have read the foregoing and it is true to

the best of my infonnation, knowledge and belief.

oated: Februaw 1. 2018 i[l@»l@\l l\l\Ql/\€Um/W

Kandy Mci(eown, Debtor

Subscribed and sworn to before me
this first day of February, 201 S.

Kristen Krol, Notary Public
Clinton Cou:nty, Michigan
My Commission Expires: Jan. l, 2024

Acting in Eaton County, Michigan

